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                                        Second Reading Amendments

    Ordinance No. 1831, Series 2022 is revised to read as follows (amendments are shown in bold underline
                                             and bold strikeout):

                                        ORDINANCE NO. 1831
                                           SERIES 2022

      AN ORDINANCE AMENDING TITLE 9, ARTICLE VIII OF THE LOUISVILLE
       MUNICIPAL CODE BANNING THE SALE AND POSSESSION OF ASSAULT
       WEAPONS, LARGE-CAPACITY MAGAZINES AND RAPID-FIRE TRIGGER
     ACTIVATORS, AND ESTABLISHING A MINIMUM AGE TO POSSESS FIREARMS

           WHEREAS, the City of Louisville (the “City”), is a Colorado home rule municipal
    corporation duly organized and existing under laws of the State of Colorado and the City of
    Louisville Home Rule Charter (the “City Charter”); and

            WHEREAS, gun violence poses a grave public safety threat to public safety, public
    health, and public education in the City of Louisville. Statewide in Colorado, guns are the
    leading cause of death for children ages 1–17 and cause the deaths of nearly 2/3 of women who
    are killed by intimate partners; and

           WHEREAS, Colorado has the 18th-highest gun death rate among the 50 states and saw
    elevated levels of mass shootings in 2020 and early 2021, when a mass shooter killed 10 people
    at King Soopers in Boulder using an assault weapon and large-capacity magazines; and

             WHEREAS, assault weapons are semiautomatic firearms with large ammunition
    capacities and specific features that are useful in military and criminal applications yet are
    unnecessary in shooting sports or self-defense. These weapons include semiautomatic assault
    rifles that have the ability to accept large-capacity magazines holding up to 100 rounds, and with
    features that enhance concealability, control, and the ability to fire many dozens of rounds
    without pause. They also include assault pistols and high-capacity “combat” shotguns; and

            WHEREAS, assault weapons are semiautomatic versions of firearms. Although these
    semiautomatic versions of military firearms are marketed to civilians, they are military-grade
    weapons: the U.S. military calls semiautomatic rifle fire the “most important firing technique
    during fast-moving, modern combat” and “most accurate technique of placing a large volume of
    fire.” These rifles fire bullets with a velocity three times greater than 9mm handguns, leaving
    “softball-sized exit wounds” much more likely to kill than to incapacitate victims; and

            WHEREAS, perpetrators of the five deadliest shootings in modern U.S. history—Las
    Vegas, Orlando, Sandy Hook, Sutherland Springs, and El Paso—used assault rifles with
    military-style features. Colorado’s deadliest mass shooters have also used assault rifles or
    pistols, including the Aurora movie theater shooter, who used an assault rifle and a 100-round
    drum magazine; and the King Soopers shooter, who used an AR-style pistol that an ATF expert
    described as “made for the military and designed for short-range combat”; and
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           WHEREAS, researchers have found that firearm purchasers with criminal histories are
    more likely to buy assault weapons, and that probability was even higher if purchasers have
    more serious criminal histories. These weapons are regularly used in violent crime beyond mass
    shootings, including violence against police officers; and

            WHEREAS, assault weapons are inappropriate for civilian use due to their unique
    features that allow shooters to rapidly fire a large number of rounds—more than is ever needed
    for lawful self-defense—while maintaining control of the firearm in order to accurately target
    and kill more victims. Specific features that allow an assault weapon to perform this way are:

                  Detachable magazine: Firearms that can accept detachable magazines allow a
           shooter to attach magazines of any size available for the firearm and quickly reload the
           weapon with pre-filled magazines. In some cases, magazines can hold as many as 100
           rounds, but even smaller detachable magazines can greatly increase firepower.

                   Pistol grip: To counteract the movement that occurs during rapid fire, assault
           weapons are typically equipped with features that allow the shooter to steady the weapon.
           A pistol grip, not typically found on a sporting rifle or shotgun (which would be fired
           from the shoulder), allows the shooter to control the firearm more accurately—and
           lethally—by maneuvering the weapon or shooting from the hip during rapid fire;

                   Thumbhole stock: As with a pistol grip, a thumbhole stock allows the shooter to
           control the firearm during rapid fire;

                  Folding or telescoping stock: A folding or telescoping stock folds or collapses to
           make the weapon easier to conceal and transport;

                  Flash Suppressor: A flash suppressor enables a shooter to mask their location by
           reducing the visible signature of the firearm when it fires; and

                  Barrel shroud: As with a pistol grip and thumbhole stock, a barrel shroud allows
           the shooter to steady the firearm during rapid fire. The shroud encircles the barrel of the
           firearm and allows the shooter to hold it without getting burned; and

            WHEREAS, in addition to military-style assault rifles, gun manufacturers have also
    begun marketing AK-style and AR-style pistols with the same features that enable a shooter to
    continue shooting the weapon numerous times without losing control over it. These pistols are
    also designed to fire rifle rounds capable of penetrating body armor, but which are concealable
    like handguns; and

            WHEREAS, AK-style and AR-style pistols pose a similar if not identical threat to public
    safety as do short-barreled rifles, because of their short length and ability to fire rifle rounds that
    can penetrate ballistic resistant vests worn by patrol officers. Because their lethality is on par
    with highly restricted short-barreled rifles, yet they have almost entirely evaded regulation,
    armor-piercing, concealable firearms have been used in murders across the country, including at
    the 2021 King Soopers shooting and at the 2019 mass shooting in Dayton, Ohio; and
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            WHEREAS, high-capacity “tactical” or “combat” shotguns are assault weapons modeled
    after firearms originally used for riot control by foreign law enforcement. After the Armsel
    Striker, popular in South Africa and marketed in the U.S. as the Street Sweeper, was designated
    a “destructive device” under the National Firearms Act, gunmakers designed workaround
    weapons as powerful as the Street Sweeper that inflict catastrophic injuries by rapidly firing a
    dozen or more shotgun slugs. These weapons are unfit for lawful sporting or self-defense uses;
    and

            WHEREAS, at the 2017 Mandalay Bay shooting in Las Vegas, Nevada, the shooter
    modified semiautomatic assault rifles with bump stocks so they could fire at speeds approaching
    fully automatic machine guns. Bump stocks, as well as binary triggers, burst triggers, rotating
    trigger cranks, and other after-market rapid-fire trigger activators enable firing many rounds per
    second and serve no lawful self-defense function; and

           WHEREAS, several years after the Las Vegas shooting drew attention to the dangers of
    bump stocks that give shooters automatic firepower, the ATF adopted a federal rule effectively
    banning their possession. However, legal challenges to the federal bump stock rule are still
    pending and state and local action is needed to restrict other rapid-fire trigger activators; and

             WHEREAS, large-capacity magazines are ammunition feeding devices that hold more
    than 10 rounds and may hold as many as 100 rounds of ammunition. Mass shootings that involve
    large-capacity magazines result in nearly five times as many people shot compared to mass
    shootings that do not involve high capacity magazines. These magazines increase the number of
    victims injured and killed by enabling shooters to fire more rounds before reloading—a critical
    moment when many criminal shooters are stopped before they can further increase their death
    tolls; and

            WHEREAS, large-capacity magazines also make gun violence far more lethal in
    situations other than mass shootings, including interpersonal gun violence and shootings by
    organized crime or street groups. Firearms equipped with large-capacity magazines account for
    22 to 36% of crime guns in most places, and research shows upwards of 40% of crime guns used
    in serious violent crimes, including murders of police officers, are equipped with large-capacity
    magazines; and

             WHEREAS, City Council is unaware of any reported incidents where someone engaged
    in self-defense fired more than 10 rounds of a large-capacity magazine to fend off an attack.
    Despite analyzing several decades of evidence about defensive shootings, gun-rights groups
    raising legal challenges to magazine restrictions in other jurisdictions have been unable to
    identify a single incident anywhere in the nation during which someone needed to fire more than
    ten rounds at once in lawful self-defense. Conversely, numerous high-profile mass shootings
    nationally and within Colorado have been carried out with LCMs, including the King Soopers
    shooting and the Aurora movie theater shooting. Nationally, the five deadliest mass shootings of
    the last decade all involved the use of LCMs holding more than 10 rounds of ammunition; and

            WHEREAS, in 1994, a federal ban on the manufacture, transfer, and possession of
    assault weapons and the transfer and possession of large-capacity magazines was enacted. The
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    law included a ten-year sunset provision. In 2004, Congress allowed the law to expire; and

             WHEREAS, studies show that the federal assault weapon ban resulted in a marked
    decrease in the use of assault weapons and large-capacity magazines in crime. One study found
    that in several major cities, the share of recovered crime guns that were assault weapons declined
    by 32% to 40% after the federal ban was adopted. Another study in Virginia found a clear
    decline in the percentage of crime guns that were equipped with large-capacity magazines after
    the federal ban was enacted. The percentage of guns seized by Virginia police reached a low of
    10% in 2004 and then steadily climbed after Congress allowed the ban to expire; by 2010, the
    percentage was close to 22%; and

            WHEREAS, the federal law restricting assault weapon and large-capacity magazines
    also had a significant protective effect in lowering mass shooting fatalities. During the 10-year
    period the law was in effect, mass shooting fatalities were 70% less likely to occur compared to
    when the ban wasn’t in effect. In addition, the number of high-fatality mass shootings fell by
    37%, and the number of people dying in such shootings fell by 43%. After the ban lapsed, there
    was a 183% increase in high-fatality mass shootings and a 239% increase in deaths from such
    shootings; and

             WHEREAS, state-level prohibitions on large-capacity magazines have been shown to
    reduce the frequency and lethality of the deadliest mass shootings—strong evidence that regional
    and local legislation can be effective even absent a federal ban. A peer-reviewed study published
    in the American Journal of Public Health found that “states without an LCM ban experienced
    significantly more high-fatality mass shootings and a higher death rate from such incidents,”
    seeing more than double the number of such shootings and three times the number of deaths
    from high-fatality mass shootings, as compared to states that ban large-capacity magazines; and

           WHEREAS, survey data and gun-industry supplied statistics suggest that, at most, only
    a small fraction of U.S. gun owners possess semiautomatic assault rifles and private ownership
    of these weapons is concentrated in the hands of super-owners who have 10 or more firearms.
    Similar claims about the ubiquity of large-capacity magazines is contradicted by the fact that
    most magazines for handguns—the “quintessential self-defense weapon,” see District of
    Columbia v. Heller, 554 U.S. 570, 629 (2008)—hold 10 rounds or fewer; and

            WHEREAS, because assault weapons, trigger activators, and large-capacity magazines
    are designed for and have repeatedly been used to inflict mass casualties and enable other violent
    crimes, and the fact that these weapons and accessories are ill-suited to and unnecessary for
    responsible self-defense, and are not chosen or used by most law-abiding gun owners for this
    purpose, City Council finds that it is in the best interests of the health, safety, and welfare of
    Louisville residents to prohibit the possession, sale, manufacture, and transfer of assault
    weapons, rapid-fire trigger activators, and large-capacity magazines; and

           WHEREAS, this ordinance recognizes the enactment of Senate Bill 21-256 and is
    intended to be consistent with that law.

           NOW, THEREFORE, BE IT ORDAINED BY THE CITY COUNCIL OF THE
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    CITY OF LOUISVILLE, COLORADO:

           Section 1.   Title 9, Article VIII of the Louisville Municipal Code (Weapons) is
    hereby amended by a new Chapter 9.80 to read as follows:

                                                Chapter 9.80

                                             General Provisions

          Sec. 9.80.010 Definitions.

                  For the purposes of this Article the following terms, phrases, words, and
          their derivatives shall have the meanings given in this section:

                 About the person means sufficiently close to the person to be readily
          accessible for immediate use.

                 Assault weapon means:

                 (a)     All semi-automatic center-fire rifles that have the capacity to
          accept a detachable magazine and that have any of the following characteristics:
                         (1)   A pistol grip or thumbhole stock;
                         (2)   A folding or telescoping stock;
                         (3)   A flash suppressor; or
                         (4)   A shroud attached to the barrel, or that partially or
                               completely encircles the barrel, allowing the bearer to hold
                               the firearms with the non-trigger hand without being
                               burned, but excluding a slide that encloses the barrel.

                 (b)    All semi-automatic center-fire pistols that have any of the
          following characteristics:
                        (1)      A threaded barrel;
                        (2)      A secondary protruding grip or other device to allow the
                                 weapon to be stabilized with the non-trigger hand;
                        (3)      A shroud attached to the barrel, or that partially or
                                 completely encircles the barrel, allowing the bearer to hold
                                 the firearm with the non-trigger hand without being burned,
                                 but excluding a slide that encloses the barrel;
                        (4)      A flash suppressor;
                        (5)      The capacity to accept a detachable ammunition feeding
                                 device at some location outside of the pistol grip;
                        (6)      A manufactured weight of 50 ounces or more when
                                 unloaded;
                        (7)      A buffer tube, arm brace, or other part that protrudes
                                 horizontally under the pistol grip; or
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                         (8)    A fixed magazine that has the capacity to accept more than
                                10 rounds.
                 (c)      All semi-automatic shotguns that have any of the following
          characteristics:
                          (1)   A pistol grip or thumbhole stock;
                          (2)   A folding or telescoping stock;
                          (3)   A fixed magazine capacity in excess of five rounds; or
                          (4)   The capacity to accept a detachable magazine.

                (d)     Any firearm which has been modified to be operable as an assault
          weapon as defined herein.

                  (e)    Any part or combination of parts designed or intended to convert a
          firearm into an assault weapon, including any combination of parts from which an
          assault weapon may be readily assembled if those parts are in the possession or
          under the control of the same person.

                  Constructive knowledge means knowledge of facts or circumstances
          sufficient to cause a reasonable person to be aware of the fact in question.

                  Firearm means any handgun, automatic revolver, pistol, shotgun, or other
          instrument or device capable or intended to be capable of discharging bullets,
          cartridges, or other explosive charges. This definition does not include an antique
          firearm as defined in 18 U.S.C. § 921(a)(16).

                  Illegal weapon means an assault weapon, large-capacity magazine, rapid-
          fire trigger activator, blackjack, gas gun, metallic knuckles, gravity knife or
          switchblade knife.

                  Large-capacity magazine means any ammunition feeding device with the
          capacity to accept more than 10 rounds, but shall not be construed to include any
          of the following:

                 (a)   A feeding device that has been permanently altered so that it
          cannot accommodate more than 10 rounds.
                 (b)   A 22-caliber tube rim-fire ammunition feeding device.
                 (c)   A tubular magazine that is contained in a lever-action firearm.

                 Locked container means a secure container which is enclosed on all sides
          and locked by a padlock, key lock, combination lock, or similar device, but does
          not include the utility compartment, glove compartment, or trunk of a motor
          vehicle.

                 Minor means a person under twenty-one years of age.

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                  Pistol Grip means a grip that protrudes conspicuously beneath the action
          of the weapon and that allows for a pistol style grasp in which the web of the
          trigger hand (between the thumb and index finger) can be placed below the top of
          the exposed portion of the trigger while firing.

                 Provide means to give, lend, sell, or to place in an unsecured location
          where a minor, an unauthorized person or an incompetent person could
          foreseeably gain access to a firearm.

                 Purchase and sale mean the transfer of ownership of a firearm in
          consideration of payment or promise of payment.

                 Rapid-Fire Trigger Activator means:

                 (a)      A device that attaches to a firearm to allow the firearm to
          discharge two or more shots in a burst when the device is activated; or
                 (b)      A manual or power-driven trigger-activating device that, when
          attached to a firearm, increases the rate of fire of that firearm.

                  Semi-automatic means a firearm that fires a single round for each pull of
          the trigger and automatically chambers a new round immediately after a round is
          fired.

          Sec. 9.80.020 Matters of local and mixed concern.

                  It is the intention of the City Council that those ordinances and provisions
          contained in this Article that deal with matters of “local” concern supersede the
          laws of the State of Colorado to the extent that they conflict and that those that
          deal with matters of “mixed” concern apply concurrently with the laws of the
          State of Colorado. No provision of this code on a matter of “mixed” concern is to
          be construed expressly or by implication to permit conduct that is illegal under
          the laws of the State of Colorado. The provisions of this code are to be construed
          to apply to misdemeanors and other minor and petty offenses only and are
          not to be interpreted to apply to conduct that is defined as a felony under the
          laws of the State of Colorado subject to the jurisdiction of the City of
          Louisville.

          Sec. 9.80.030 Affirmative defense.

                  It is an affirmative defense to any charge of a violation of this Article
          relating to carrying firearms that the defendant was carrying the firearm in a
          private automobile motor vehicle or other private means of conveyance for
          lawful protection of such person or another person or property or for hunting
          while traveling in, into or through the City, as permitted by § 18-12-105.6, C.R.S.

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          Sec. 9.80.040 Exemptions.

                  Nothing in this Article shall be construed to forbid the following persons
          from having in their possession, displaying, concealing or discharging such
          weapons as are necessary in the authorized and proper performance of their
          official duties:
                  (1)      United States Marshals, any sheriffs, constables and their deputies,
                  (2)      Any regular or ex officio police officer,
                  (3)      Any government agent, officer, or employee, any other peace
          officer, or Members of the United States Armed Forces, Colorado National Guard
          or Reserve Officer Training Corps, to the extent such person is otherwise
          authorized to acquire or possess an assault weapon and/or large-capacity
          magazine, and does so within the scope of his or her acting in the course and
          scope of their duties.

           Section 2.    Chapter 9.82 of the Louisville Municipal Code is hereby amended by
    the addition of a new Section 9.82.130 to read as follows:

          Sec. 9.82.130 Sales to and purchases by minors prohibited.

                 (a)     No person under the age of twenty-one shall purchase a
          firearm.

                (b)      No person shall sell a firearm to a person under the age of
          twenty-one.

                 (c)     This section shall not apply to:
                         (1)    Any federal, state or local law enforcement officer when
                                purchasing or selling firearms in connection with
                                official duties.

                         (2)     Any member of the United States Armed Forces or
                                 Colorado National Guard when engaged in official
                                 duties.

           Section 2 3. Title 9, Article VIII of the Louisville Municipal Code (Weapons) is
    hereby amended by a new Chapter 9.84 to read as follows:

                                                 Chapter 9.84

                                               Illegal Weapons

          Sec. 9.84.010 Possession and sale of illegal weapons.



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                 (a)    No person shall knowingly possess or sell or otherwise transfer an
         illegal weapon.

                (b)     Nothing in this section shall be construed to forbid any person:
                        (1)   Holding a Federal Firearms License issued by the United
                              States Government from possession of any firearm
                              authorized pursuant to such license;
                        (2)   From possessing a firearm for which the United States
                              Government has issued a stamp or permit pursuant to the
                              National Firearms Act; or
                        (3)   Selling an illegal weapon to a person identified in Section
                              9.80.030 of this Code, “Exemptions from this Article.”
                        (4)   Engaged in the manufacture or sale of items pursuant
                              to a United States military or law enforcement
                              procurement contract in accordance with C.R.S. § 29-
                              11.7-103(3) from possessing a weapon that is subject to
                              such procurement contract.

                (c)     Nothing in this section shall be deemed to apply to any firearm that
         has been modified either to render it permanently inoperable or to permanently
         make it not an assault weapon.

                 (d)     Nothing in this section shall be deemed to restrict a person’s
         ability to travel with a firearm in a private automobile motor vehicle or other
         private means of conveyance for lawful hunting, for lawful competition, or for
         lawful protection of a person or another person or property while traveling into,
         though, or within, the City of Louisville, regardless of the number of times the
         person stops in the City of Louisville.

                (e)     It is a specific defense to a charge of violating this Section:
                        (1)      That the person had a valid permit for such weapon
                                 pursuant to federal law at the time of the offense; or
                        (2)      That the illegal weapon was an assault weapon
                                 accompanied by a certificate of ownership, under Section
                                 9.86.010(c), issued by the Louisville Police Department.

          Section 3 4. Title 9, Article VIII of the Louisville Municipal Code (Weapons) is
   hereby amended by a new Chapter 9.86 to read as follows:

                                               Chapter 9.86

                                             Assault Weapons

         Sec. 9.86.010 Assault weapons.

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                 (a)    Any person who, prior to July 1, 2022, was legally in possession of
         an assault weapon or large capacity magazine shall have until December 31, 2022
         to obtain a certificate for the assault weapon as provided in subsection (c) of this
         section.

                (b)      Any person who, prior to July 1, 2022, was legally in possession of
         a rapid-fire trigger activator shall have until August 1, 2022 to do any of the
         following without being subject to prosecution:
                         (1)    Remove the rapid-fire trigger activator from the City of
                                Louisville; or
                         (2)    Surrender the rapid-fire trigger activator to the Louisville
                                Police Department for destruction.

                 (c)    Any person seeking to certify an assault weapon that he or she
         legally possessed prior to July 1, 2022, unless they obtained a certificate of
         ownership under previous ordinances, must comply with the following
         requirements:
                        (1)    Submit to a background check conducted by the
                               appropriate law enforcement agency to confirm that he or
                               she is not prohibited from possessing a firearm pursuant to
                               18 U.S.C. § 922 or C.R.S § 18-12-108; and
                        (2)    Unless the person is currently prohibited by law from
                               possessing a firearm, prior to December 31, 2022 apply for
                               a certificate for the assault weapon from the Louisville
                               Police Department.

                 (d)     All persons who obtain a certificate pursuant to subsection (c) of
         this section shall:
                         (1)    Safely and securely store the assault weapon pursuant to
                                the regulations adopted by the appropriate law enforcement
                                agency;
                         (2)    Possess the assault weapon only on property owned or
                                immediately controlled by the person, or while on the
                                premises of a licensed gunsmith for the purpose of lawful
                                repair, or while engaged in the legal use of the assault
                                weapon at a duly licensed firing range, or while traveling to
                                or from these locations, provided that the assault weapon is
                                stored unloaded in a locked container during transport. The
                                term “locked container” does not include the utility
                                compartment, glove compartment, or trunk of a motor
                                vehicle; and
                         (3)    Report the loss or theft of a certified assault weapon to the
                                appropriate law enforcement agency within 48 hours of the
                                time the discovery was made or should have been made.

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                    (e)   If a certified assault weapon is used in the commission of a crime,
           the owner shall be civilly liable for any damages resulting from that crime. The
           liability imposed by this subsection shall not apply if the assault weapon was
           stolen and the certified owner reported the theft of the firearm to law enforcement
           within 48 hours of the time the discovery was made or should have been made.

                   (f)     Certified assault weapons may not be purchased, sold or
           transferred in the City of Louisville, except for transfer to a licensed gunsmith for
           the purpose of lawful repair, or transfer to the appropriate law enforcement
           agency for the purpose of surrendering the assault weapon for destruction.

                  (g)    Persons acquiring an assault weapon by inheritance, bequest, or
           succession shall, within 90 days of acquiring title, do one of the following:
                         (1)      Modify the assault weapon to render it permanently
                                  inoperable;
                         (2)      Surrender the assault weapon to the Louisville Police
                                  Department for destruction;
                         (3)      Transfer the assault weapon to a firearms dealer who is
                                  properly licensed under federal, state and local laws; or
                         (4)      Permanently remove the assault weapon from the City of
                                  Louisville.

                   (h)    The owner of a certified assault weapon may not possess in the
           City of Louisville any assault weapons purchased after July 1, 2022.

                   (i)    The City Manager shall charge a fee for each certificate sufficient
           to cover the costs of administering the certificate program. The City Manager
           shall issue to qualified applicants two original copies of each certificate issued.
           The City of Louisville shall not maintain any records of certificates issued. The
           person who received the certificate shall keep one copy with the weapon certified
           and the second copy in a secure place to replace the certificate maintained with
           the weapon.

            Section 4 5. If any portion of this ordinance is held to be invalid for any reason, such
   decision shall not affect the validity of the remaining portions of this ordinance. The City Council
   hereby declares it would have passed and approved this ordinance and each part hereof irrespective
   of the fact that any one part be declared invalid.

           Section 5 6. The repeal or modification of any provision of the Municipal Code of the
   City of Louisville by this ordinance shall not release, extinguish, alter, modify, or change in whole or
   in part any penalty, forfeiture, or liability, either civil or criminal, which shall have been incurred
   under such provision, and each provision shall be treated and held as still remaining in force for the
   purpose of sustaining any and all proper actions, suits, proceedings, and prosecutions for the
   enforcement of the penalty, forfeiture, or liability, as well as for the purpose of sustaining any

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   judgment, decree, or order which can or may be rendered, entered, or made in such actions, suits,
   proceedings, or prosecutions.

          Section 6 7. All other ordinances or portions thereof inconsistent or conflicting with this
   ordinance or any portion hereof are hereby repealed to the extent of such inconsistency or conflict.

           Section 7 8. Any person convicted of violating this ordinance may be punished as set
   forth in 1.28.010 of the Louisville Municipal Code, as may be amended but which currently
   provides violations shall be punished by a fine of not more than $2,650.00, as shall be adjusted
   for inflation on January 1, 2014 and on January 1 of each year thereafter, or by imprisonment not
   to exceed 364 days, or by both such fine and imprisonment.

        INTRODUCED, READ, PASSED ON FIRST READING, AND ORDERED
   PUBLISHED this 17th day of May, 2022.


                                                        ______________________________
                                                        Ashley Stolzmann, Mayor

   ATTEST:


   ______________________________
   Meredyth Muth, City Clerk


   APPROVED AS TO FORM:


   ______________________________
   Kelly PC
   City Attorney


           PASSED AND ADOPTED ON SECOND AND FINAL READING, this 7th day of June,
   2022.


                                                        ______________________________
                                                        Ashley Stolzmann, Mayor
   ATTEST:


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   Meredyth Muth, City Clerk
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